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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                       EUGENE DIVISION

 OREGON RIGHT TO LIFE,                             Case No.: 6:23-cv-1282
                                      Plaintiff,
 v.
                                               PLAINTIFF’S MOTION FOR PRELIMI-
 OREGON DEPARTMENT OF                          NARY INJUNCTION AND SUPPORTING
 CONSUMER AND BUSINESS                         MEMORANDUM OF LAW
 SERVICES and ANDREW R. STOLFI,
 in his official capacities as Department of
 Consumer and Business Services Director
 and Oregon Insurance Commissioner,
                                   Defendants. Request for Oral Argument




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                                           MOTION1

    Under LR 7-1(a)(1), Oregon Right to Life (“ORTL”) certifies that, “[i]n compliance with

this Rule, the parties made a good faith effort through [a video conference on September 11,

2023] to resolve the dispute and have been unable to do so.” Defendants’ position is that they

oppose the present motion.

    Under § 2 (the “Mandate”) of 2017 Enrolled House Bill (“HB 3391”/“Bill”), Oregon man-

dated that health benefit plans provide coverage for (as relevant) abortion and contraception to

which ORTL objects under the Free Exercise Clause of the First Amendment, U.S. Const.

Amend. I. ORTL moves for a preliminary injunction enjoining Defendants from enforcing the

Mandate against ORTL or any insurer in any way differently than for “religious employers,” Bill

§ 2(9) ( “An insurer may offer to a religious employer a health benefit plan that does not include

coverage for contraceptives or abortion procedures that are contrary to the religious employer’s

tenets . . . .”); ordering Defendants to treat ORTL as “religious employers” are treated; and re-

quiring Defendants to direct any present or future ORTL health-benefit plan provider to accom-

modate ORTL’s religious beliefs. FRCP 65. This Motion should be granted. See Memorandum.

    As this injunction poses no monetary risk to Defendants and this is a First Amendment case,

ORTL requests that bond be waived. FRCP 65(c); see, e.g., Baca v. Moreno Valley Unified

School Dist., 936 F. Supp. 719, 738 (C.D. Cal. 1996) (waiving First Amendment case bond).

                                      MEMORANDUM

                                         Introduction

    This is an as-applied, free-exercise challenge to the Mandate, Bill § 2, in the Reproductive

    1
      ORTL separately moves to “advance the trial on the merits and consolidate it with the hear-
ing” on the preliminary injunction. FRCP 65(a)(2). All hyperlinks were functional at filing.

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Health Equity Act (“RHEA”), codified in Oregon Revised Statutes (“ORS”) §§ 743A.066-067.

See olis.oregonlegislature.gov/liz/2017R1/Downloads/MeasureDocument/HB3391 (Bill text);

www.oregonlegislature.gov/bills_laws/lawsstatutes/2017orlaw0721.pdf (Oregon Laws). The

2017 Mandate requires “health benefit plans” to cover abortion and contraception as follows.

•   Bill § 2(2) states the Mandate:

         (2) A health benefit plan offered in this state must provide coverage for all of the fol-
    lowing services, drugs, devices, products and procedures: . . .
         (g) Abortion. . . .
    ....
         (j) Any contraceptive drug, device or product approved by the United States Food
    and Drug Administration, subject to all of the following:
    ....
         (D) A health benefit plan may not infringe upon an enrollee’s choice of contraceptive
    drug, device or product and may not require prior authorization, step therapy or other uti-
    lization control techniques for medically appropriate covered contraceptive drugs, devices
    or other products approved by the United States Food and Drug Administration.
    ....
         (L) As a single claim or combined with other claims for covered services provided on
    the same day:
         (A) Patient education and counseling on contraception . . . .
         (B) Services related to . . . the administration and monitoring of contraceptive drugs,
    devices, and products, including but not limited to:
         (i) Management of side effects;
         (ii) Counseling for continued adherence to a prescribed regimen;
         (iii) Device insertion and removal; and
         (iv) Provision of alternative contraceptive drugs, devices or products deemed medi-
    cally appropriate in the judgment of the enrollee’s provider.
    ....

•   Bill § 2(5) details things not excluded by the Mandate:

         (5) This section does not exclude coverage for contraceptive drugs, devices or prod-
    ucts prescribed by a provider, acting within the provider’s scope of practice, for:
         (a) Reasons other than contraceptive purposes, such as decreasing the risk of ovarian
    cancer or eliminating symptoms of menopause; or
         (b) Contraception that is necessary to preserve the life or health of an enrollee.

•   The Mandate had a grandfathering exemption based on 2017 abortion coverage, Bill § 2(7):

        (7) This section does not require a health benefit plan to cover:

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     ....
        (e) Abortion if the insurer offering the health benefit plan excluded coverage for
    abortion in all of its individual, small employer and large employer group plans during the
    2017 plan year.

•   This grandfathering exemption was amended by 2023 HB 2002 § 122 to read as follows:

        (7) This section does not require a health benefit plan to cover:
     ....
        (e) Abortion if the insurer offering the health benefit plan:
        (A) Has a certificate of authority to transact insurance in this state issued by the
    Department of Consumer and Business Services; and
        (B) Excluded coverage for abortion in all of its individual, small employer and large
    employer group plans during the 2017 plan year.

This amendment was to prevent governmental plans from using this “legacy clause”:

    [2023’s HB 2002,] Section 12 is closing a loophole in the Reproductive Health Equity
    Act that was passed in 2017. So that bill requires state regulated health plans to provide
    abortion coverage with no cost sharing. There is a—what’s called sort of like—a legacy
    clause that excluded certain health insurance—or one—health insurance company from
    being required to pay for abortions. And the way that exemption was written, it actually
    ended up being broader than it was intended, and so we’re just closing that—closing up
    that language—to make it clear that it’s only applying to insurance carriers, and not, for
    example, local and county government plans.

Public Hearing on HB 2002 Before the H. Comm. on Behavioral Health and Health Care of the

Oregon State Legislature, 2023 Regular Session (March 20, 2023) (Testimony of Kimberly

McCullough, Legislative Director, Office of the Attorney General, Oregon Department of Justice),

olis.oregonlegislature.gov/liz/mediaplayer?clientID=4879615486&eventID=2023031284&startSt

reamAt=2198 (at 00:40:26).

•   The Mandate exempts objecting “religious employers” and their insurers, Bill § 2(9):

    An insurer may offer to a religious employer a health benefit plan that does not include
    coverage for contraceptives or abortion procedures that are contrary to the religious em-
    ployer’s religious tenets only if the insurer notifies in writing all employees who may be
    enrolled in the health benefit plan of the contraceptives and procedures the employer re-
    fuses to cover for religious reasons.

    2
        olis.oregonlegislature.gov/liz/2023R1/Downloads/MeasureDocument/HB2002.

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•   Bill § 2(1)(d) adopts the narrow “religious employer” definition at ORS § 743A.066, i.e.:

    A “religious employer” is an employer:
         (a) Whose purpose is the inculcation of religious values;
         (b) That primarily employs persons who share the religious tenets of the employer;
         (c) That primarily serves persons who share the religious tenets of the employer; and
         (d) That is a nonprofit organization under section 6033(a)(3)(A)(i) or (iii) of the In-
    ternal Revenue Code.

    Though ORTL objects on religious grounds to providing insurance coverage in its health-

benefit plan for (i) abortion (except to save the mother’s life3) and (ii) “contraceptives” that act as

abortifacients,4 it doesn’t fit the “religious employer” definition because (though it is nonprofit

and its employees share its religious views) its purpose is prolife advocacy, not inculcating reli-

gious values, and it doesn’t primarily serve persons sharing its religious tenets.

    California churches recently won similar challenges to California’s 2014 abortion-insurance

mandate. Foothill Church v. Watanabe, 623 F. Supp. 3d 1079 (E.D. Cal. 2022) (summary judg-

ment); Foothill Church v. Watanabe, No. 2:15-cv-02165, 2023 WL 1767748, at *5 (E.D. Cal.

Feb. 3, 2023) (permanent injunction on free-exercise claim and order for DMHC Director to pro-

cess exemption for “abortion care coverage comporting with their religious beliefs”).5

                                Governing Legal Standards

    ORTL seeks a preliminary injunction, as did the plaintiff in Fulton, 141 S.Ct. at 1876. Pre-

liminary injunctions require (1) a likelihood of success on the merits; (2) a likelihood of irrepara-

    3
      This exception to ORTL’s abortion opposition applies to discussions herein of ORTL’s
abortion position (and of those controlling ORTL), unless context indicates otherwise.
    4
      ORTL’s opposition to abortion herein includes opposition to any abortifacients, sometimes
mislabeled as “contraceptives”
    5
      This followed remand for consideration in light of Fulton v. City of Philadelphia, 141 S.Ct.
1868 (2021). Foothill Church v. Watanabe, 3 F.4th 1201 (9th Cir. 2021). See also Skyline Wes-
leyan Church v. DMHC, 968 F.3d 738 (9th Cir. 2020) (free-exercise challenge held justiciable);
Order Granting Joint Motion and Entering Judgment, Skyline, Doc. 141, No. 3:16-cv-00501
(S.D. Cal. May 11, 2023) (agreed permanent injunction for Skyline and ordered relief).

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ble harm absent preliminary relief; (3) that the balance of equities tips in movant’s favor; and (4)

that an injunction is in the public interest. Winter v. Natural Resources Defense Council, 555

U.S. 7, 20 (2008); Am. Trucking Ass’n, Inc. v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir.

2009); Too Marker Products, Inc. v. Shinhan Art Materials, Inc., 2009 WL 4718733, at *2 (D.

Or. 2009). “The elements . . . are balanced, so that a stronger showing of one element may offset

a weaker showing of another. For example, a stronger showing of irreparable harm to plaintiff

might offset a lesser showing of likelihood of success on the merits.” Irvin v. HSBC Bank USA,

N.A., 2017 WL 5075246, at *1 (D. Or. 2017). See also Underwood v. Rochester, 2018 WL

3613990, at *2 (D. Or. 2018) (citing 9th Circuit cases).

    “[B]urdens at the preliminary injunction stage track the burdens at trial.” Gonzales v. O

Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 429 (2006); accord Winter, 555

U.S. at 22 (citing Mazurek v. Armstrong, 520 U.S. 968 (1997), which held that the “clear show-

ing” applies to “the burden of persuasion,” 520 U.S. at 972 (citation omitted)). That strict-scru-

tiny burden requires Defendants to prove the Mandate’s burden on First Amendment activity is

narrowly tailored to a compelling interest and less-restrictive means are inadequate to serve the

interest. See Gonzales, 546 U.S. at 428-29 (citing Ashcroft v. ACLU, 542 U.S. 656, 666 (2004));

see also FEC v. Wisconsin Right to Life, Inc., 551 U.S. 449, 478 (2007) (strict-scrutiny burden on

government); United States v. Playboy Entm’t Group, Inc., 529 U.S. 803, 816 (2000) (same); San

Antonio Ind. School Dist. v. Rodriguez, 411 U.S. 1, 16 (1973) (citation omitted) (strict scrutiny

eliminates presumption of validity; government bears “heavy burden of justification”).

    In First Amendment cases, likely merits success is the dominant factor, so once that is estab-

lished other elements follow. See, e.g., Sammartano v. First Judicial Dist. Ct., Cnty. of Carson

City, 303 F.3d 959, 972-74 (9th Cir. 2002), abrogated in part by Winter, 555 U.S. at 24.

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                                    Factual Background

    Facts about ORTL and legislative testimony are verified in the Verified Complaint.

ORTL’s Organizational Nature

    ORTL is an Oregon non-stock corporation whose principle place of business is Keizer, Ore-

gon. It is a 26 U.S.C. § 501(c)(4) nonprofit organization formed in 1970 to advocate for the in-

herent dignity of human life and to promote respect and protection for human life regardless of

race, sex, age, or stage of development. It has over 25,000 members and supporters in Oregon,

including Marion County. A Board of Directors controls ORTL. Its Executive Director manages

daily operations. ORTL is a membership organization. Members join due to agreement with

ORTL’s prolife principles and provide at least modest financial support. See, e.g., ortl.org/get-

involved/become-a-member. Members select two at-large Board members with voting rights.

ORTL’s website is at www.ortl.org, where information about it is publicly available. Related to

ORTL are a PAC and a § 501(c)(3) Education Foundation, ortl.org/what-is-oregon-right-to-

life/#1445930230395-d0e4383f-9e8a, which founded StandUpGirl.com, a popular prolife, online

resource for girls in unplanned pregnancies. ORTL is an affiliate of the National Right to Life

Committee (“NRLC”), America’s oldest and largest national prolife organization. See nrlc.org.

Current full-time ORTL personnel are Executive Director, Office Manager, Administrative As-

sistant, Community Outreach Director, Political Director, Communications Specialist, Events

and Social Media Coordinator, Development Specialist, and Data Management Specialist.

ORTL’s Mission and Policy Positions

    ORTL’s directors, officers, board members, and employees must subscribe to ORTL’s mis-

sion, beliefs, and policy positions, and members join because of agreement with those. ORTL’s

mission is to advocate for the most vulnerable human beings whose right to life is denied or

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abridged under current law. It works to reestablish protection for all innocent human life from

conception to natural death. See ortl.org/what-is-oregon-right-to-life/. ORTL operates under its

stated policy positions. See ortl.org/positions/.

    ORTL believes individual human life begins at conception, i.e., fertilization. See

ortl.org/positions/ (Statement on Contraceptives: “Once the sperm and egg have united, . . . a

new human life begins”). “[ORTL] believes in the sanctity of all human life from the moment of

conception to natural death,” ortl.org/positions/ (Statement on Abortion), and that:

    Abortion ends the life of a genetically distinct, growing human being. [ORTL] oppose[s] abor-
    tion at any point of gestation. In rare cases, a mother may have a life threatening condition in
    which medical procedures intended to treat the condition of the mother may result in the unin-
    tended death of her preborn baby. At the same time, ORTL recognizes that modern medical
    practice . . . increase[s] the ability to save both the life of the mother and the baby.

Id. Accordingly, ORTL opposes abortion except where the mother’s life is in imminent danger.

“[ORTL] takes no position on . . . birth control method[s] . . . prohibit[ing] the sperm and egg

from uniting. Once the[y] . . . have united, . . . a new human life begins and ORTL opposes any

drug, device, or procedure which destroys the new human life. ORTL supports full disclosure of

information . . . to women considering contraceptives,” ortl.org/positions/ (Statement on Contra-

ceptives), including whether a particular “contraceptive” can act as an abortifacient (i.e., destroy-

ing individual human life in utero after fertilization). Id.

    ORTL believes, as did plaintiffs in Burwell v. Hobby Lobby Stores, 573 U.S. 682 (2014),

that four types of “contraception” that could act after fertilization are abortifacients, id. at 701-02.

“These include two forms of emergency contraception commonly called ‘morning after’ pills and

two types of intrauterine devices.” Id. at 701-03. The Hobby Lobby Brief for Respondents6 pro-

vides specific detail, quoting a lower court: “‘Four of the twenty approved methods—two types

    6
        Available at https://becketpdf.s3.amazonaws.com/13-354-bs.pdf.

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of intrauterine devices (IUDs) and the emergency contraceptives commonly known as Plan B and

Ella—can function by preventing the implantation of a fertilized egg.’” Id. at 4-5 (citation omit-

ted). “[T]he government concedes that the drugs and devices at issue can prevent uterine implan-

tation of an embryo.” Id. at 5 n.2. Specifically, the government conceded that “Plan B (levonor-

gestrel), Ella (ulipristal acetate) and copper IUDs like ParaGard may act by ‘preventing implanta-

tion (of a fertilized egg in the uterus)’ [and that] IUDs with progestin ‘alter[] the endometrium.’”

Id. (citations omitted). ORTL doesn’t want to include those abortifacients in its health-benefit

plan. Concerning these, ORTL believes like the Hobby Lobby objectors that “‘it is immoral and

sinful for [them] to intentionally participate in, pay for, facilitate, or otherwise support these

drugs.’” 573 U.S. at 702 (citation omitted). Under Hobby Lobby, those objectors were not re-

quired to cover them in employee health insurance. See id. at 690-92.

    “ORTL opposes any techniques of human conception occurring outside of the maternal body

which lead to the destruction of human life, whether for family growth or experimentation.”

ortl.org/positions/ (Statement on Assisted Reproductive Technology).

    ORTL’s belief in “the sanctity of human life from the moment of conception until natural

death,” ortl.org/positions/ (Statement on Euthanasia), arises from Judeo-Christian religious be-

liefs—traditionally incorporated into Western Civilization’s respect for human life—to which

ORTL and those who control it subscribe. Those include the Bible’s command against the inten-

tional destruction of innocent human life, making the taking of innocent human life a grave sin.

These beliefs include the inviolable, inherent, ultimate worth of each human life, which requires

respect for and protection of innocent human life by opposing abortion and abortifacient “contra-

ceptives.” And those beliefs include the consequent belief that it is a grave religious and moral

wrong to deliberately cooperate, facilitate, or otherwise participate in some meaningful way in

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the provision of abortion or abortifacient “contraceptives,” which belief precludes ORTL from

providing insurance coverage for those without violating conscience.

    ORTL’s beliefs about the sanctity of human life motivate its actions and are held by its

board members, officers, employees, and members, all of whom would be displeased if ORTL

violated those beliefs and would likely disassociate from ORTL were it to do so. As a prolife ad-

vocate, ORTL seeks to have all that it says and does be consistent with its beliefs and prolife

message. This applies to employee health insurance coverage. ORTL believes funding insurance

coverage for abortion communicates a message contrary to its prolife message.

ORTL’s Provision of Health Insurance

    ORTL’s religious beliefs include a duty of care for and just compensation to its employees,

based on which it provides them a health-benefit plan. But ORTL believes it should not provide

coverage contrary to its beliefs, shared by its directors, officers, employees, and members.

ORTL also believes it should provide employee health insurance to obtain and retain excellent

employees to further its mission, so forcing ORTL to forgo such insurance would put it at a com-

petitive disadvantage and hamper its mission. And the employees ORTL wants want health-in-

surance coverage, but without the coverage to which ORTL and they object. Eight ORTL person-

nel are currently covered under ORTL’s health-benefit plan. Before the Mandate, ORTL pro-

vided a plan through Providence Health Plans (“PHP”), which it had provided since 2015, that

excluded abortion coverage.

    The Mandate has an abortion grandfathering exemption involving such abortion-excluding

plans, i.e., “if the insurer offering the health benefit plan excluded coverage for abortion in all of

its individual, small employer and large employer group plans during the 2017 plan year.” Bill

§ 2(7). See supra Introduction (amendment to disallow governmental plans from using this ex-

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emption). PHP is the only known entity that fits that exemption. ORTL’s present PHP plan ex-

cludes abortion coverage “unless there is a severe theat to the mother, or if the life of the fetus

cannot be sustained,” PHP, 2022 Oregon Member Handbook: Choice 61 (2022), but doesn’t ex-

clude abortifacient “contraceptives,” id. at 24. ORTL wants to provide an employee health-bene-

fit plan without Mandate-imposed, objectionable coverage. ORTL wants a plan covering abortion

only in case of imminent danger to the mother’s life and not covering abortifacient “contracep-

tives.” The Mandate bars this.

    PHP is not suitable for ORTL because it covers abortifacient “contraceptives” and abortion

beyond imminent danger to the mother’s life. PHP also is not suitable because Oregon Health &

Science University (“OHSU”) is not in-network. OHSU is a premier health care facility that

ORTL wants its employees to be able to access in-plan and that ORTL’s employees want to ac-

cess in-plan. PHP also is not suitable because in the past rate hikes have outpaced other plans and

could do so again leaving ORTL without an economically desirable option. Other options, e.g.,

faith-based medical-cost-sharing groups and direct primary-care alternatives, are unsuitable as

ORTL and its employees want a traditional health-benefit plan.

    ORTL has not sought a “religious employer” exemption under Bill § 2(9) because doing so

would be futile since the “religious employer” definition excludes ORTL. ORTL has not sought

an exemption under a good-cause exemption mechanism as in Fulton, 141 S.Ct. at 1877-78, and

Foothill, 623 F. Supp. 3d at 1093, since Oregon lacks such a general mechanism, making such a

request futile. ORTL did seek an exemption under Bill § 2(10), authorizing exemptions if the

Mandate might “adversely affect the allocation of federal funds.” ORTL did so under the Weldon

Amendment (a federal-funds conscience provision), based on now-defunct Trump administration

interpretations of its provisions. The exemption wasn’t granted, but DCBS thus became fully

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aware of ORTL’s conscience objections to the Mandate and offered ORTL no options.

    As set out more fully below, infra Conclusion, ORTL wants relief allowing it to be treated as

“religious employers” are, i.e., with authorization for insurers to offer and employers to obtain

health-benefit plans compatible with religious beliefs. Bill § 2(9).

The Legislature’s Awareness of ORTL’s and Others’ Legal Objections

    HB 3391 legislative history is available at olis.oregonlegislature.gov/liz/2017R1/Mea-

sures/Overview/HB3391, and video recordings of hearings are available. ORTL and similar reli-

gious objectors to the Bill lobbied against it, testifying against it before two committees and ask-

ing for an exemption in the final legislation since ORTL and others were not protected by any

existing exemption, so the legislature knew of ORTL’s objections, burden, and lack of exemp-

tion. See also olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocu-

ment/108284 (Colm Willis for ORTL on Witness Registration for 3/15/2017 hearing);

olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocument/136756 (same

for 6/28/2017 hearing). Oregon Family Council submitted written testimony with a legal-counsel

letter attached explaining the Bill’s free exercise flaws that made it vulnerable to a First Amend-

ment challenge and establishing that the “religious employer” exemption was inadequate to pro-

tect other entities. See olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeet-

ingDocument/107838. PHP submitted a letter stating that “Providence is a faith-based, not-for-

profit health system that proudly serves as Oregon’s largest health care provider, largest health

plan, and the largest private employer,” Letter from Michael L. Cotton, Chief Executive Officer,

Providence Health Plans, to Hon. Mitch Greenlick, Chair, H. Comm. on Health Care at 1 (Mar.

15, 2017), olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocu-

ment/107514 (“PHP Letter”), explaining why the conscience-clause provision at Bill § 2(10) did

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not protect it as an insurer, id. at 2-3, and asked the committee to “provide a conscience clause

for religious-sponsored insurers,” id. at 3. Though aware of the lack of adequate, general, con-

science protection, the legislature, instead of offering broadly applicable conscience protection,

employed the grandfathering provision at Bill § 2(7)(e) that protected PHP based solely on ex-

cluding abortion coverage in 2017. In 2023, the legislature blocked governmental entities from

using the grandfathering provision. See supra Introduction.

    Video of Bill testimony details Bill opponents’ arguments and need for protection. The PHP

CEO testified based on the PHP Letter, explaining that PHP needed a clear conscience exemp-

tion. Public Hearing on HB 3391 Before the H. Comm. on Health Care of the Oregon State Leg.,

2017 Regular Session (March 15, 2017) (Testimony of Michael Cotton, Chief Executive Officer,

Providence Health Plans), invintus-client-media.s3.wasabisys.com/4879615486/ore-

gon_f9ea023c-9fcb-4e89-8ede-062410b792aa.mp4 (at 01:56:03) (“March 15, 2017 Hearing”).

Jessica Adamson, Director, Government Relations, Providence Health and Services reiterated the

need for PHP to be protected as an insurer providing health benefit plans, though she clarified

that as a major employer, Providence had a self-funded plan and so was not subject to the Man-

date. March 15, 2017 Hearing at 00:19:52; 00:32:17. Colm Willis, testifying for ORTL, ex-

plained that the Bill didn’t protect ORTL though it violated ORTL’s deeply held beliefs. March

15, 2017 Hearing at 00:23:05. Teresa Harke, representing Oregon Family Council, testified that

the “religious employer” exemption didn’t protect the free-exercise rights of many Oregonians

and was subject to litigation for violating religious liberty. March 15, 2017 Hearing at 00:25:21.

ORTL’s Specific Objections to the Mandate Summarized

    ORTL objects on religious grounds to providing coverage for abortion and related services

in its health-benefit plan. By “abortion” ORTL means:

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    The use or prescription of any instrument or device or of an abortifacient to intentionally:

(A) kill, or attempt to kill, the unborn child of a woman known to be pregnant; or

(B) terminate, or attempt to terminate, the pregnancy of a woman known to be pregnant, with an

    intention other than:

    (i) to produce a live birth and preserve the life and health of the child if born alive; or

    (ii) to remove a dead unborn child or an ectopic pregnancy;

(C) except where the physician performing the abortion has determined, based on reasonable

    medical judgment, that the abortion is necessary to prevent the death of the pregnant woman,

    but not if that determination is based on a claim or a diagnosis that the pregnant woman will

    engage in conduct that would result in her death.

    On the same grounds, as part of its objection to abortion, ORTL objects to covering “contra-

ceptives” that can act as abortifacients, i.e., (a) Plan B (levonorgestrel), (b) Ella (ulipristal ace-

tate), (c) copper IUDs (like ParaGard), and (d) IUDs with progestin—or any comparable “contra-

ceptives” of the same type and chemical makeup that can also act as abortifacients.

Irreparable Harm and No Adequate Remedy at Law

    ORTL is presently suffering irreparable harm to its constitutional rights due to the Mandate,

see Elrod v. Burns, 427 U.S. 347, 373 (1976), and has no adequate remedy at law.

                                             Argument

                                                   I.
         On the merits, the Mandate violates ORTL’s free-exercise right as applied.

    ORTL is likely7 to succeed on the merits of its as-applied claim under the Free Exercise



    7
      For purposes of ORTL’s separate motion to consolidate the hearing on the merits with the
hearing on the preliminary injunction motion, ORTL actually succeeds on the merits.

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Clause. U.S. Const. Amend. I.8 As established next: (A) the controlling Free Exercise Clause

analysis was established in Employment Division v. Smith, 494 U.S. 872 (1990); (B) the Mandate

is not neutral or generally applicable; and (C) the Mandate fails strict scrutiny as applied.

A. The controlling Free Exercise Clause analysis was established in Smith.

    Smith (5-4) altered free-exercise analysis by removing neutral, generally applicable laws

from strict scrutiny. Compare id. at 879 with id. at 894 (O’Connor, J., joined by Brennan, Mar-

shall, and Blackmun, JJ., concurring in judgment with strict-scrutiny analysis) (collecting cases).9

Fulton plaintiffs sought overruling Smith, but the Court held it could protect plaintiffs under

Smith, 141 S.Ct. at 1881.10 ORTL is entitled to relief under Smith, but if needed it seeks Smith’s

overruling for reasons stated in Justice Alito’s Fulton concurrence, id. at 1882-1926 (Alito, J.,

joined by Thomas and Gorsuch, JJ., concurring in judgment). Only the High Court can overrule

Smith. Agostini v. Felton, 521 U.S. 203, 237 (1997). The controlling analysis follows.

    8
       “Congress shall make no law . . . prohibiting the free exercise [of religion].” Id. The Four-
teenth Amendment, U.S. Const. Amend. XIV, applies the Clause to states. Cantwell v. Connecti-
cut, 310 U.S. 296, 303 (1940).
     9
       Congress quickly reinstated strict scrutiny for federally imposed free-exercise burdens:
     Smith’s impact was quickly felt, and Congress was inundated with reports of the decision’s
     consequences.[footnote omitted] In response, it attempted to restore the Sherbert[ v. Verner,
     374 U.S. 398 (1963),] test. In the House, then-Representative Charles Schumer introduced a
     bill that made a version of that test applicable to all actions taken by the Federal Government
     or the States. H. R. 1308, 103d Cong., 1st Sess. (1993). This bill, which eventually became the
     Religious Freedom Restoration Act (RFRA), passed in the House without dissent, was ap-
     proved in the Senate by a vote of 97 to 3, and was enthusiastically signed into law by President
     Clinton. 139 Cong. Rec. 27239–27341 (1993) (House voice vote); id., at 26416 (Senate vote);
     Remarks on Signing the Religious Freedom Restoration Act of 1993, 29 Weekly Comp. of
     Pres. Doc. 2377 (1993).
Fulton, 141 S.Ct. at 1893-94 (Alito, J., joined by Thomas and Gorsuch, JJ., concurring in the judg-
ment). Though RFRA originally reached state-imposed burdens, Boerne v. Flores, 521 U.S. 507
(1997), held that Congress lacked that power. Many states have RFRAs. Oregon doesn’t.
     10
        Five Justices supported reconsidering Smith as needed. Id. at 1882 (Barrett, J., joined by
Kavanaugh, J., concurring); id. at 1883 (Alito, J., joined by Thomas and Gorsuch, JJ., concurring
in judgment); id. at 1926 (Gorsuch, J., joined by Thomas and Alito, JJ., concurring in judgment).

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    1.   The Clause protects against government burdens on religious exercise based on
         sincerely held religious beliefs.

    The Clause protects against government burdens on religious exercise based on sincerely

held religious beliefs. Fulton, 141 S.Ct. at 1876 (“burdened CSS’s religious exercise by putting it

to a choice of curtailing its mission or approving relationships inconsistent with its beliefs”).

    2.   Neutral, generally applicable laws get rational-basis scrutiny.

    Smith held that a “valid and neutral law of general applicability . . . that . . . proscribes (or

prescribes) conduct that [one’s] religion prescribes (or proscribes)” is subject to rational-basis

review. 494 U.S. at 879 (citation omitted).

    3.   Non-neutral, non-general laws get strict scrutiny.

    Laws that are non-neutral, not generally applicable (“non-general”), or both, get strict scru-

tiny. Id. at 886 n.3. Accord Stormans v. Wiesman, 794 F.3d 1064, 1076 (9th Cir. 2015), cert. de-

nied, 579 U.S. 942 (2016).11 So “law[s] . . . must be justified by a compelling governmental inter-

est and . . . narrowly tailored to advance that interest.” Church of the Lukumi Babalu Aye v.

Hialeah, 508 U.S. 520, 531-32 (1993). “The tests for ‘[n]eutrality and general applicability are

interrelated, and . . . failure to satisfy one requirement is a likely indication that the other has not

been satisfied.’” Stormans, 794 F.3d at 1076 (quoting Lukumi, 508 U.S. at 531). “Nevertheless,

we must consider each criterion separately so as to evaluate the text of the challenged law as well

as the ‘effect . . . in its real operation.’” Id. (quoting Lukumi, 508 U.S. at 535). Fulton applied

Smith to strike a requirement that a religious, state-licensed, foster-care agency certify same-sex

couples as foster parents against belief. 141 S.Ct. at 1882. Despite non-neutrality evidence, it was

“more straightforward” to use a non-generality analysis. Id. at 1877.

    11
      Though the Ninth Circuit’s Stormans opinion is correct regarding strict scrutiny, where its
analysis varies from the U.S. Supreme Court’s the latter controls. See infra I.A.3.

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    A law is a “general law,” Smith, 494 U.S. at 879, or of “general applicability,” id., if it ap-

plies “across-the-board,” id. at 884, to all to whom asserted interests apply, as in Smith, where the

controlled-substances ban applied to all without exception. A law is not “generally applicable,”

id. at 880, if it is underinclusive (or overbroad) in relation to those to whom “the government’s

asserted interest” applies. Fulton, 141 S.Ct. at 1877; accord Lukumi, 508 U.S. at 543 (“ordi-

nances are underinclusive for those ends.”); id. (“underinclusiveness is substantial”); id. at 544

(“underinclusive with regard to . . . interest”); id. at 545 (“underinclusive . . . with regard to [inter-

est]”); id. (“underinclusive on its face”); id. at 546 (“ordinances are overbroad or underinclusive

in substantial respects.”). See also Stormans, 579 U.S. 942, 136 S.Ct. at 2433-34, 2437 (Alito, J.,

joined by Roberts, C.J., and Thomas, J., dissenting from denial of certiorari) (questioning Ninth

Circuit’s finding that Christian pharmacists weren’t targeted and demonstrating law was non-

general as “underinclusive”).

    Underinclusiveness also can establish that: (i) an asserted interest can’t be taken seriously,

see Rep. Party Minn. v. White, 536 U.S. 765, 766 (2002) (“as a means of pursuing this interest,

. . . clause is so woefully underinclusive that the Court does not believe it was adopted for that

purpose.” (citation omitted)); First Nat’l Bank v. Bellotti, 435 U.S. 765, 793 (1978) (underinclu-

siveness “undermines the likelihood of a genuine state interest”); (ii) an asserted interest isn’t

“compelling,” Lukumi, 508 U.S. at 546-47; or (iii) a provision is not narrowly tailored, id. at 546;

S. Bay United Pentecostal Church v. Newsom, 141 S.Ct. 716, 718 (2021) (statement of Gorsuch,

J., joined in relevant part by four other Justices) (citing Bellotti, 435 U.S. at 793) (underinclu-

sivity is a “telltale sign[] th[e] Court has long used to identify laws that fail strict scrutiny.”).

    Fulton provided two non-exclusive analyses that can establish free-exercise non-generality.

141 S.Ct. at 1877. Fulton cited Smith for one, herein the “particular-reason analysis”: “A law is

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not generally applicable if it ‘invite[s]’ the government to consider the particular reasons for a

person’s conduct’ by providing ‘“a mechanism for individualized exemptions.’” Id. (quoting

Smith, 494 U.S. at 884). So laws with individual-exemption mechanisms, are non-general, as in

Fulton, 141 S.Ct. at 1878, and Foothill, 623 F. Supp. 3d at 1092-93 (“A law is not generally ap-

plicable if it invites the government to consider the particular reasons for a person’s conduct by

providing a mechanism for individualized exemptions.” (cleaned up)). But Fulton emphasized

what lies behind such a mechanism, i.e., “government . . . consider[ing] . . . particular reasons”

when exempting. This reading was confirmed when Fulton rejected the argument that the mecha-

nism was “irrelevant because the Commissioner ha[d] never granted one,” 141 S.Ct. at 1872,

saying the issue was whether government was invited “‘to decide which reasons for not comply-

ing with the policy are worthy of solicitude.’” Id. (quoting Smith, 494 U.S. at 884). So if particu-

lar reasons are, or can be, considered for granting exemptions, a law is non-general. Also, Fulton

decided that if part of a law has such a particular-reason mechanism, though another doesn’t,

they must be read together and the whole is non-general. 142 S.Ct. at 1879. Cf. id. at 1928-29

(Gorsuch, J., joined by Thomas and Alito, JJ., concurring in judgment) (Majority position is that

“the City’s power to grant exemptions from its nondiscrimination policy anywhere ‘undercuts its

asserted interests’ and thus ‘trigger[s] strict scrutiny for applying the policy everywhere.’” (em-

phasis in original; citation omitted)).

    Fulton said, “A law also lacks general applicability if it prohibits religious conduct while

permitting secular conduct that undermines the government’s asserted interests in a similar way.”

Fulton, 141 S.Ct. at 1877 (citation omitted) (“comparable-exemption analysis”). This example

was from Lukumi, 508 U.S. 520, where a law was non-general for barring animal sacrifice based

on a public-health interest concerning animal carcass disposal that logically applied to exempted

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hunters and restaurants. Fulton, 141 S.Ct. at 1877 (citation omitted). See also Rom. Cath. Dio-

cese Brooklyn v. Cuomo, 141 S.Ct. 63, 66 (2020) (pandemic-based law non-general for restrict-

ing worship sites to ten persons but not restricting “many whose services are not limited to those

. . . regarded as essential”); Tandon v. Newsom, 141 S.Ct. 1294, 1296, 1298 (2021) (per curiam)

(granting injunction pending appeal) (COVID-19 restrictions “contain[ing] myriad exceptions . . .

for . . . activities” “comparable” to restricted religious exercise “not . . . generally applicable”); In

re S. Bay United Pentecostal Church, 992 F.3d 945, 948 (9th Cir. 2021). The comparable-

exemption analysis can’t logically be restricted to secular exemptions (at issue in these cases)

because comparable religious exemptions also make laws not “generally applicable,” Smith, 494

U.S. at 879, in relation to asserted interests. See Tandon, 141 S.Ct. at 1298 (“contains myriad

exceptions and accommodations for comparable activities” (emphasis added)).

    These two Fulton analyses are necessarily non-exclusive because the sole overarching test is

whether a law is “general,” Smith, 494 U.S. at 874, 879, “generally applicable,” id. at 879-80,

“across-the-board,” id. at 884, or “uniform,” Hobbie v. Unemployment Appeals Comm’n of

Florida, 480 U.S. 136, 141 (1987) (“neutral and uniform”); Wisconsin v. Yoder, 406 U.S. 205,

220 (1972) (“applies uniformly to all citizens of the State”). Fulton’s particular-reason and

comparable-exemption analyses are merely two ways to satisfy the overarching generality test.

So the actual test is general applicability itself, determined by inclusion relative to interests.

    The foregoing free-exercise analysis from the U.S. Supreme Court necessarily controls over

any contrary lower-court analysis. For example, in Tandon, 141 S.Ct. 1294 (per curiam), the

Court noted that “[t]his is the fifth time the Court has summarily rejected the Ninth Circuit’s

analysis of California’s COVID restrictions on religious exercise,” id. at 1297-98 (collecting

cases). The Court reiterated that California’s regulation “contains myriad exceptions and accom-

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modations for comparable activities,” id. at 1298, and strict scrutiny “‘is not watered down’; it

‘really means what it says,’” id. (quoting Lukumi, 508 U.S. at 546).

    Thus, the High Court’s analysis controls over any contrary Ninth Circuit analysis in Stor-

mans, 794 F.3d 1064, which involved rules compelling pharmacists to act against conscience.

Stormans (i) noted the Supreme Court’s “‘individualized exemption’ doctrine,” id. at 1081; (ii)

said Smith “limited that doctrine,” id.; (iii) noted the “substantially similar” and “good faith com-

pliance” language in the rules plaintiffs identified as “discretionary text,” id.; (iv) concluded “the

rules do not afford unfettered discretion that could lead to religious discrimination because the

provisions are tied to particularized, objective criteria,” id. at 1081-82; (v) said “[t]he mere exis-

tence of an exemption that affords some minimal governmental discretion does not destroy a

law’s general applicability,” id. at 1082; and (vi) agreed with courts that “have rejected a per se

approach and instead apply a fact-specific inquiry to determine whether the regulation at issue

was motivated by discriminatory animus, or whether the facts support an argument that the chal-

lenged rule is applied in a discriminatory fashion that disadvantages religious groups . . . ,’” id.

(citation omitted). That narrowing of Smith’s “generally applicable” test erred under Smith and

fails under Fulton.

    While simply comparing Stormans’s narrowed test with Fulton’s reveals the errors, five

highlights establish it. First, Fulton nowhere endorsed the Ninth Circuit’s notion that the gener-

ally applicable inquiry requires a “fact-specific inquiry to determine whether the regulation at

issue was motivated by discriminatory animus.” Id. (citation omitted). Under Fulton, “animus”

might apply to the neutrality analysis, but not to the generality analysis, which simply identifies

non-generality alone.

    Second, Fulton reaffirmed that “[a] law is not generally applicable if it ‘invite[s]’ the gov-

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ernment to consider the particular reasons for a person’s conduct by providing ‘“a mechanism for

individualized exemptions.’” 141 S.Ct. at 1877 (quoting Smith, 494 U.S. at 884). So individual-

exemption mechanisms make laws non-general without more, as in Fulton, 141 S.Ct. at 1878,

and Foothill, 623 F. Supp. 3d at 1092-93.

    Third, the Ninth Circuit’s claim that the “mere existence” of such a mechanism “does not

destroy a law’s general applicability,” 794 F.3d at 1082, is erroneous since Fulton rejected the

argument that the mechanism was “irrelevant because the Commissioner ha[d] never granted

one,” 141 S.Ct. at 1872, and decided that if part of a law has such a mechanism, though another

does not, they must be read together and the whole is non-general, id. at 1879.

    Fourth, the Stormans claim that Smith “limited” the “individualized exemption doctrine,”

794 F.3d at 1081, is erroneous because Smith instead declined to apply the “Sherbert test to ana-

lyze free exercise challenges to . . . laws” “with an across-the-board criminal prohibition on a

particular form of conduct,” 494 U.S. at 884, that did not have a “a system of individual exemp-

tions,” id. (citations omitted). That Stormans claim also errs under Fulton’s reaffirmation of the

Smith analysis that such a mechanism makes a law non-general, 141 S.Ct. at 1877.

    Fifth, the Ninth Circuit’s belief that “unfettered discretion” is required for an individualized-

exemption mechanism to make a law non-general, 794 F.3d at 1081-82, fails under both Smith

and Fulton. As Stormans noted, Smith showed that precedent had established the “‘individual-

ized exemptions’ doctrine.” Id. at 1081. But Smith’s discussion neither mentioned “unfettered

discretion” nor established such a requirement for a “mechanism for individualized exemptions”

or “a system of individual exemptions.” 494 U.S. at 884. Smith cited the unemployment compen-

sation law at issue in Sherbert “as allowing benefits for employment caused by at least some ‘per-

sonal reasons,’” id. (citation omitted), which limited discretion to such reasons. Foothill correctly

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understood Fulton that the non-generality test asks only if there is an individualized-exemption

mechanism without any consideration of the scope of the discretion: “A law is not generally ap-

plicable if it invites the government to consider the particular reasons for a person’s conduct by

providing a mechanism for individualized exemptions.” 623 F. Supp. 3d at 1092-93 (cleaned up).

After stating this, Foothill added other approaches involving discretion:

    Nor is it generally applicable if it includes “a formal system of entirely discretionary excep-
    tions ....” [141 S.Ct.] at 1878. Such a mechanism or formal system might include a “good
    cause” standard permitting the government to grant exemptions, Smith, 494 U.S. at 884, or a
    provision in the law allowing exceptions at the “sole discretion” of a government agent,
    Fulton, 141 S.Ct. at 1878.

Id. at 1093. This correctly recognizes that the mentions of “sole discretion” and “entirely discre-

tionary” in Fulton were describing a provision that had such language: “‘unless an exception is

granted by the Commissioner or the Commissioner’s designee, in his/her sole discretion,’” 141

S.Ct. at 1878 (citation omitted). Fulton made clear that this “sole discretion” language was de-

scriptive, not prescriptive of language formal mechanisms require. Compare id. at 1877 (test

stated as “a mechanism for individualized exemptions” with no mention of “sole discretion”)

with id. at 1878 (“in this case at the ‘sole discretion’ of the Commissioner”) and id. at 1879

(“here, at the Commissioner’s ‘sole discretion’”). So where an individualized-exemption mecha-

nism exists, it makes a law non-general without any consideration of how much discretion it af-

fords. And assuming arguendo that the Stormans “minimal governmental discretion” language

survives Fulton, which it doesn’t, the existence of a formal exemption mechanism differs in kind

from the “substantially similar” and “good faith compliance” language at issue in Stormans. As

established next, Oregon has such a formal mechanism that makes it non-general.

B. The Mandate is not neutral or generally applicable, so strict scrutiny applies.

    The Mandate must be neutral and generally applicable to avoid strict scrutiny. The Mandate

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isn’t neutral. Its purpose was to force abortion and contraception insurance coverage on entities

that didn’t provide coverage, so it necessarily targeted those who objected to such coverage for

religious and moral reasons, as evidenced by the fact that the legislature was aware that entities

like ORTL objected and weren’t protected by the “religious employer” exemption. Supra Facts.

Cf. Stormans, 579 U.S. 942, 136 S.Ct. at 2433-34, 2437 & n.3 (Alito, J., joined by Roberts, C.J.,

and Thomas, J., dissenting from cert. denial) (questioning Ninth Circuit’s finding that Christian

pharmacists weren’t targeted after district court found that they were as a factual matter). Thus,

requiring groups like ORTL to provide mandated coverage was an actual object of the Mandate.

The Mandate was patterned after an August 2014 California abortion-insurance mandate that was

established by enforcement-instruction letters from California’s DMHC. Compare Foothill, 623

F. Supp. 3d at 1082-83 (describing mandated abortion coverage); id. at 1085-87 (same); id. at

1989 (same), with Mandate; compare also 623 F. Supp. 3d at 1085 n.5 (California’s “religious

employer” definition), with Mandate Bill § 2(1)(d) (adopting definition near-verbatim to Califor-

nia’s). California’s abortion-coverage mandate arose in response to lobbying of California’s

DMHC by “advocacy organizations opposed to the elimination of coverage for abortion,” 623 F.

Supp. 3d at 1089, after “two Catholic universities announc[ed] they would be ‘eliminating abor-

tion coverage from their employee health plans,’” id. (citation omitted). Oregon’s similar Bill,

which had its first reading in the house on March 9, 2017, olis.oregonlegisla-

ture.gov/liz/2017R1/Measures/Overview/HB3391, similarly imposed abortion coverage on all

health benefit plans except for similarly defined “religious employers” (initially) and had like

advocates, olis.oregonlegislature.gov/liz/2017R1/Measures/Analysis/HB3391 (listing “Courtney

Graham and Andrea Salinas fact sheet” submitted on March 15, 2017, for “NARAL Pro-Choice

Oregon, American Civil Liberties Union of Oregon, Family Forward Oregon, et al.”);

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olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocument/107499 (text of

advocacy fact sheet). Moreover, PHP and ORTL both testified at legislative hearings that they

needed a conscience exemption, supra Facts, but only PHP was exempted (by the grandfathering

exemption), which indicates hostility against ORTL and favoritism toward PHP.

    Furthermore, the “religious employers” definition is too narrow, see supra Introduction, so

that entities seeking a free-exercise exemption essentially have to be churches to qualify. That

narrow definition and PHP’s exemption indicate the legislature’s decision to pick and choose

among religious organizations, favoring some and evidencing hostility to others. Cf. Spencer v.

World Vision, 633 F.3d 723, 728-29 (9th Cir. 2011) (O’Scannlain, Cir. J., concurring) (if statute

“requires an organization to be a ‘church’ to qualify for [an] exemption,” it “discriminate[s]

against religious institutions,” “rais[ing] the specter of constitutionally impermissible discrimina-

tion between institutions on the basis of the ‘pervasiveness or intensity’ of their religious beliefs”

(citations omitted)); Colo. Christian Univ. v. Weaver, 534 F.3d 1245, 1259 (10th Cir. 2008) (it is

no more constitutionally acceptable for state to discriminate between “types of [religious] institu-

tion” than to discriminate between denominations (emphasis added)). The religious hostility in-

herent in the exemption’s “religious employers” requirement plainly renders the Mandate uncon-

stitutional under Stormans, which recognized that laws that “refer[] to a religious practice with-

out a secular meaning discernable from the language or context” “lack[] facial neutrality.” 794

F.3d at 1076. The rules challenged in Stormans contained no religious exemption. Id. at 1072 (no

exemption for “Delivery Rule”; parties agreed that “Pharmacist Responsibility Rule” did not ap-

ply to pharmacists with religious or secular objections, although rule had no formal exemption,

see Wash. Admin. Code 246-863-095 (2007)). The Mandate, however, with its “religious em-

ployer” exemption, fails this test since it refers to religion as such, and thus cannot possibly be

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interpreted to have a secular meaning, which distinguishes it from the rules at issue in Stormans

and renders it non-neutral under Stormans.

    That anti-religious hostility is even evident in the “religious employers” definition, which

only says insurers “may” offer conscience-conforming plans, Bill § 2(9), without requiring insur-

ers to offer such plans, leaving religious employers at insurers’ mercy. And that hostility is evi-

dent in the formal federal-funds-exemption mechanism, which allows a conscience exemption

“only to the minimum extent necessary to ensure the continued receipt of federal funds.” Bill

§ 2(10). So the Mandate is the result of, and itself evidences, non-neutrality to religious free exer-

cise, requiring strict scrutiny.

    Regarding generality, “resolv[ing] this case under the rubric of general applicability” is

“straightforward.” Fulton, 141 S. Ct. at 1877. The Mandate is underinclusive for not applying to

all to whom the asserted interest logically applies, including by grandfathering PHP and having a

formal individual-exemption mechanism, on which basis Fulton found non-generality.

    The interest is asserted in the name “Reproductive Health Equity Act,” i.e., an equal-

outcome interest, see, e.g., Milken Inst. Sch. Pub. Health, Equity vs. Equality: What’s the Differ-

ence?, onlinepublichealth.gwu.edu/resources/equity-vs-equality/, in providing financial coverage

for “reproductive health” services for all. RHEA’s requirements confirm that cover-all interest by

mandating health-benefit plans to cover “reproductive health,” Bill § 2, and funding the same

coverage for some, Bill §§ 4-5, 11. That cover-all interest is confirmed by officials: “House Bill

(HB) 3391 ensures that Oregonians have access to comprehensive reproductive health care re-

gardless of their income, citizenship or immigration status, gender identity, or insurance cover-

age,” since “everyone deserves access to” such care. Ore. Health Auth., House Bill 3391: Repro-




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ductive Health Equity Act: Report to the Legislature 1 (2018).12 Governor Brown confirmed the

purpose to “‘expand[] access to basic reproductive health services for all Oregonians . . . .’” Id.

    The “generally applicable” analysis, Smith, 494 U.S. at 880, next asks whether the Mandate

is underinclusive in relation to that cover-all interest. It is, in at least four ways.

    First, the Mandate is underinclusive due to the grandfathering exemption, Bill § 2(7)(e),

which excludes covering “[a]bortion if the insurer offering the health benefit plan excluded cov-

erage for abortion in all of its individual, small employer and large employer group plans during

the 2017 plan year.” Under Smith’s overarching “generally applicable” test, 494 U.S. at 880, this

exemption makes the Mandate non-general because the cover-all interest logically applies to all

health-benefit plans. Under Fulton’s comparable-exemption analysis, 141 S.Ct. at 1877, the

Mandate is non-general because this exemption excludes abortion coverage on the secular

ground of 2017 plan coverage while not exempting ORTL on religious grounds. And if, despite

that secular language, the legislature created this exemption for the particular reasons stated in

the PHP Letter—such as Providence being faith-based and “Oregon’s largest health care pro-

vider, largest health plan, and the largest private employer,” PHP Letter at 1—that makes the ex-

emption non-general under particular-reason analysis. That PHP is the “largest” in multiple ways

makes the Mandate substantially underinclusive.

    Second, the Mandate is underinclusive for exempting “religious employers” from abortion

and contraceptive coverage. Bill § 2(9). Though that is an appropriate accommodation under

establishment-clause analysis, the present context is the free-exercise “generally applicable” test,

and Smith’s free-exercise analysis asks solely whether a law is “generally applicable” to all to

    12
    Available at www.oregon.gov/oha/PH/HEALTHYPEOPLEFAMILIES/REPRO-
DUCTIVESEXUALHEALTH/Documents/RHEA/HB3391-Leg-Report.pdf.


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whom an interest logically extends, 494 U.S. at 879, not how non-generality occurs. See Tandon,

141 S.Ct. at 1298 (per curiam) (strict scrutiny applies because provision “contains myriad excep-

tions and accommodations for comparable activities”). Though the exemptions Fulton cited from

Lukumi were secular, 141 S.Ct. at 1877, the cover-all interest logically extends to all plans cover-

ing all entities (and beyond), so this exemption makes the Mandate non-general. And in adminis-

tering this exemption, Defendants must consider particular reasons, i.e., whether “religious em-

ployers” (a) have the right purpose, (b) primarily employ like-values persons, (c) primarily serve

like-values persons, and (d) are nonprofit. Bill § 2(1)(d) (incorporating ORS § 743A.066). That

makes the Mandate non-general under Fulton’s particular-reason analysis, 141 S.Ct. at 1877.

    Third, the Mandate is underinclusive because it has a formal mechanism for individualized

exemptions—to avoid loss of federal funding, but only as far as necessary:

    If [DCBS] concludes that enforcement of this section may adversely affect the allocation of
    federal funds to this state, the department may grant an exemption to the requirements but only
    to the minimum extent necessary to ensure the continued receipt of federal funds.

Bill § 2(10). That mechanism alone makes the Mandate not “generally applicable” under Smith.

494 U.S. at 880, 884-85. And under Fulton, it doesn’t matter whether exemptions are granted.

141 S.Ct. at 1872. Under Fulton’s particular-reason analysis, id. at 1877, this formal mechanism

allows Defendants to consider particular reasons why exemptions are sought—as in ORTL’s ex-

emption request, supra Facts—and balance reasons to grant as little conscience protection as nec-

essary to save federal funding, so it is readily non-general under that analysis.13 Since Fulton held

that if part of a law has such a particular-reason mechanism it makes the whole non-general, id.

at 1879; id. at 1928-29 (Gorsuch, J., joined by Thomas and Alito, JJ., concurring in judgment),


    13
         To the extent any Stormans analysis might be contrary, it doesn’t control. Supra I.A.3.


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this formal mechanism for individualized exemptions makes the Mandate as a whole non-gen-

eral. The Mandate is also non-general under Fulton’s comparable-exemption analysis because it

authorizes an exemption for a secular reason, i.e., assuring federal funds, while not exempting

ORTL for a religious reason, i.e., in seeking an exemption under this mechanism, supra Facts,

ORTL argued that it objected because it believes that abortion is a grave moral wrong and reli-

giously forbidden under the traditional Judeo-Christian beliefs that motivate the actions of

ORTL, its board members, and employees.14

    Fourth, the Mandate is underinclusive because it excludes certain types of health plans. For

example Bill § 2(1)(c) defines “health benefit plan” to exclude certain plans:

    (c) “Health benefit plan” has the meaning given that term in ORS 743B.005, excluding
    Medicare Advantage Plans and including health benefit plans offering pharmacy benefits ad-
    ministered by a third party administrator or pharmacy benefit manager.

Far from expanding “reproductive health” services funding under all plans, the Mandate ad-

vances the cover-all interest only for those with health-benefit plans (or who qualify for public

funding, Bill § 5). This leaves countless employed, self-employed, and unemployed persons un-

aided by the Mandate. These coverage gaps undermine the cover-all interest and make the Man-
    14
       ORTL argued that DCBS should grant the requested exemption because the Mandate as
applied to those unwilling to “provide coverage of . . . abortions” jeopardizes Oregon’s receipt of
federal funds under the Weldon Amendment (“Weldon”), which provides as follows:
          (1) None of the funds made available in this Act may be made available to a Federal
     agency or program, or to a State or local government, if such agency, program, or government
     subjects any institutional or individual health care entity to discrimination on the basis that the
     health care entity does not provide, pay for, provide coverage of, or refer for abortions.
          (2) In this subsection, the term “health care entity” includes an individual physician or
     other health care professional, a hospital, a provider-sponsored organization, a health mainte-
     nance organization, a health insurance plan, or any other kind of health care facility, organi-
     zation, or plan.
See, e.g., Consolidated Appropriations Act, 2018, Pub. L. 115-41, Div. H, § 507(d), 132 Stat.
348 (Mar. 23, 2018) (emphasis added). Under Trump administration interpretations of Weldon’s
provisions, ORTL could make this argument, though those changed in the next administration.


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date not “generally applicable,” 494 U.S. at 880, in relation to that interest under Smith. And the

legislature had to consider particular reasons for why the Mandate excludes all of these situations

when there is no exemption for ORTL’s health-benefit plan, which makes the Mandate non-gen-

eral under Fulton’s particular-reasons analysis. 141 S.Ct. at 1877.

    The above exemptions and gaps make the Mandate non-general since they undermine the

government’s asserted interest “in a similar or greater degree” to granting ORTL an exemption.

Lukumi, 508 U.S. at 543. For example, exempting “religious employers” would undermine the

cover-all interest in a similar degree to exempting ORTL because like-values employees in both

cases don’t want the objectionable coverage. The other exceptions and gaps undermine the cover-

all interest to a “greater degree,” id., based on comparing ORTL employees not wanting objec-

tionable coverage to others wanting that coverage.

    In sum, the Mandate is non-neutral and it is non-general in multiple ways in relation to the

cover-all interest under Smith’s overarching “generally applicable” test and Fulton’s non-exclu-

sive, non-generality tests. So the free-exercise analysis proceeds under strict scrutiny.

C. The Mandate fails strict scrutiny as applied to ORTL.

    The Mandate fails strict scrutiny as applied to ORTL and its religious beliefs. Defendants

have the burden to justify the Mandate under strict scrutiny. Supra Governing Legal Standards.

    1.   ORTL’s non-complicity beliefs are sincerely held.

    ORTL’s sincerely held religious belief is that covering abortion and abortifacients in its

health-benefit plan involves forbidden abortion complicity. Supra Facts. ORTL’s abortion belief

is like the churches’ in Foothill, 623 F. Supp. 3d 1079, and Skyline, 968 F.3d 738. Its aborti-

facient belief is like that of Hobby Lobby plaintiffs, 573 U.S. at 702, who were protected from




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coverage under the federal RFRA, supra Facts. Such beliefs cannot be gainsaid:

    [T]he City’s actions have burdened CSS’s religious exercise by putting it to the choice of cur-
    tailing its mission or approving relationships inconsistent with its beliefs. . . . In [defendant’s]
    view, certification reflects only that foster parents satisfy the statutory criteria, not that the
    agency endorses their relationships. But CSS believes that certification is tantamount to en-
    dorsement. And “religious beliefs need not be acceptable, logical, consistent, or comprehensi-
    ble to others in order to merit First Amendment protection.”

Fulton, 141 S.Ct. at 1876 (citation omitted). So ORTL’s beliefs must be accepted as stated.

    2.   The Mandate substantially burdens ORTL’s free exercise.

    Compelling prolife ORTL to violate its religious belief or not provide a health-benefit plan

substantially burdens its free-exercise right, just as the similar mandates at issue in the Foothill,

Skyline, and Hobby Lobby cases were substantial burdens. See, e.g., Hobby Lobby, 573 U.S. at

691 (“[W]e must decide whether the challenged HHS regulations [imposing abortifacient insur-

ance coverage] substantially burden the exercise of religion, and we hold that they do.”).

    3.   Not exempting ORTL is not narrowly tailored to a compelling interest.

    As applied to ORTL, the Mandate fails “the most rigorous of scrutiny,” Lukumi, 508 U.S. at

546, which inquires whether denying ORTL an exemption15 “advances ‘interests of the highest

order’ and is narrowly tailored to achieve those interests,” Fulton, 141 S.Ct. at 1881 (citation

omitted). If “the government can achieve its interests in a manner that does not burden religion, it

must do so.” Id.; accord Hobby Lobby, 573 U.S. at 728. “Rather than rely on ‘broadly formulated

interests,’ courts must ‘scrutinize[ ] the asserted harm of granting specific exemptions to particu-

lar religious claimants.’” Fulton, 141 S.Ct. 1881 (citation omitted)).


    15
        “The granting of an exemption from a generally applicable law is tantamount to a holding
that a law is unconstitutional as applied to a particular set of facts [citation omitted], and cases
holding generally applicable laws unconstitutional as applied are unremarkable.” Fulton, 141
S.Ct. at 1916-17 (Alito, J., joined by Thomas and Gorsuch, JJ., concurring in judgment).


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    Regarding interests for denying ORTL relief, Defendants will presumably assert ones like

those in Foothill, none of which sufficed, 623 F. Supp. 3d at 1094:

    The Director explains her decision not to make an exception at the Churches’ request by citing
    her policy not to entertain requests for exceptions unless they come from a plan. She cites
    three compelling government interests. Def.’s MSJ at 18. First, the policy prevents “a flood of
    exemption requests from over 26 million enrollees” who may object to their plan’s covered
    care services. Id. Second, it prevents “significant third-party harm to enrollees,” which may
    occur if employers opt out of legally mandated healthcare coverage. Id. at 18-19. Third, it ap-
    propriately restricts DMHC’s jurisdiction as authorized by the California State Legislature. Id.
    at 19. None of these interests are sufficiently compelling, nor is the department’s rigid ap-
    proach narrowly tailored. Lukumi, 508 U.S. at 531-32 . . . .

    The Foothill court found the “first two interests . . . speculative and thus ‘insufficient to sat-

isfy strict scrutiny.’” Id. (citing Fulton, 141 S.Ct. at 1882). Here flood-prevention and third-party-

harm interests also would be speculative and insufficient.

    The flood-prevention interest wasn’t compelling because (i) it was “‘conjecture’ and unsub-

stantiated in the record,” (ii) the focus must be on exempting a particular claimant, (iii) cases

cited “arose outside of California and concerned entirely different policies,” id. (citations omit-

ted), and (iv), the Director had resources and options:

    Even assuming similar religious challenges materialized in California in large numbers, the
    Director has not offered evidence showing that entertaining . . . objections would be so diffi-
    cult and time-consuming that “DMHC’s operations would grind to a halt ....” Id. at 20. The
    DMHC could reject outlandish requests on their merits and limit requests to those from em-
    ployers like the Churches, rather than individuals. Finally, if the DMHC receives and approves
    an exemption request from a religious claimant, the DMHC can ensure the claimant’s plan is
    “at the table,” id. at 21, by including the plan on communications and requesting the plan sub-
    mit a revised evidence of coverage document that includes the approved exemption.

Id. at 1094-95. See also Hobby Lobby, 573 U.S. at 732-33 (“flood” argument not compelling).

Here, a flood-prevention interest would also be conjecture and unfocused on ORTL’s request.

Defendants can similarly address the concerns in the unlikely event there were anything like a

flood. And an asserted interest in preventing similar entities from pursuing rights is non-cogniza-


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ble because the federal constitution preempts governmental efforts to deny such rights. U.S.

Const. Art. VI, § 2.

    The third-party-harm interest wasn’t compelling: “‘all the Churches’ employees share their

religious beliefs about abortion, so the State’s interest in withholding an exemption from the

Churches cannot be compelling.’” Foothill, 623 F. Supp. 3d at 1095 (citation omitted; emphasis

in original). “Accordingly, the Director may limit religious exemptions to ‘particular’ employers

who provide coverage to employees who share their religious beliefs.” Id. (citing Fulton, 141

S.Ct. at 1881). Here, ORTL’s employees also share its beliefs regarding abortion and abortifa-

cient “contraceptives,” so no third-party-harm interest is compelling.

    The state-law-compliance interest wasn’t compelling. The Director said state law only per-

mitted her to regulate health plans, which Foothill assumed arguendo and rejected:

    Nonetheless, nothing in the statutory text explicitly precludes her from fielding requests for
    exemptions from religious claimants. Likewise, nothing appears to preclude the Director from
    directing the religious claimant’s plan to submit a revised evidence of coverage document
    comporting with the religious claimant’s belief to the DMHC for approval. The Director’s au-
    thority to give orders to a plan does not foreclose the authority to consider requests for those
    orders from others. In the end, the Director is still regulating the plan.

Id. Here, were Defendants to make a similar argument—though Oregon lacks the general “good

cause” formal mechanism California’s insurance scheme had, id. at 1093—the foregoing or like

answers would refute it. Vitally, the Free Exercise Clause and Supremacy Clause don’t allow

those with implementing and enforcement authority over state law to evade the preempting effect

of the First Amendment on the grounds that state law limits them because, if a federal free-exer-

cise violation is occurring, Defendants must provide the means to cure it based on their authority.

    Foothill held that “the Director has not shown ‘[she] lacks other means of achieving [her]

desired goal without imposing a substantial burden on the exercise of religion by [plaintiffs].’”


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Id. at 1095 (bracketed text from court) (quoting Hobby Lobby, 573 U.S. at 728). Accordingly,

“[t]he Director’s denial of the Churches’ request for exceptions to accommodate their religious

beliefs, based solely on the fact that those requests did not originate with a plan, was not nar-

rowly tailored to serve a compelling interest.” Id.

    Hobby Lobby rejected the argument that imposing abortifacient “contraceptive” funding on

religious objectors under the Affordable Care Act was “essential to the comprehensive health-

insurance scheme that ACA establishes.” 573 U.S. at 733-34. The Court said if religious organi-

zations certify that abortifacients violate their religious beliefs, the ACA required that

    the organization’s insurance issuer or third-party administrator must “[e]xpressly exclude con-
    traceptive coverage from the group health insurance coverage provided in connection with the
    group health plan” and “[p]rovide separate payments for any contraceptive services required to
    be covered” without imposing “any cost-sharing requirements . . . on the eligible organization,
    the group health plan, or plan participants or beneficiaries.”

Id. at 730-31 (citations omitted). That was more narrowly tailored because it “d[id] not impinge

on the plaintiffs’ religious belief that providing insurance coverage for the contraceptives at issue

here violates their religion, and it serves HHS’s stated interests equally well.” Id. at 731. Oregon

could have put a similar bypass in the Mandate. Its failure to do so fails narrow tailoring. And

Bill § 5 reveals a less-restrictive option, i.e., state funding could provide any coverage Oregon

wants for employees of religious objectors without violating ORTL’s free-exercise rights.

    Fulton also rejected asserted interests as not sufficiently compelling to force a Christian

foster-care agency to violate its religious beliefs regarding same-sex couples as foster parents.

141 S.Ct. at 1881-82. “The City asserts that its non-discrimination policies serve three compel-

ling interests: maximizing the number of foster parents, protecting the City from liability, and

ensuring equal treatment of prospective foster parents and foster children.” Id. at 1881. The Court




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noted that these were at “a high level of generality, but the First Amendment demands a more

precise analysis,” a focus on interests supporting not exempting the objecting Christian agency.

Id. The Court said the maximization interest might actually be served by the exemption and po-

tential litigation was speculative. Id. at 1881-82. It said that, while the equal-treatment interest

was stronger, it was undercut by allowing exemptions, id. at 1882 (citations omitted):

    That leaves the interest of the City in the equal treatment of prospective foster parents and fos-
    ter children. We do not doubt that this interest is a weighty one, for “[o]ur society has come to
    the recognition that gay persons and gay couples cannot be treated as social outcasts or as infe-
    rior in dignity and worth.” . . . .On the facts of this case, however, this interest cannot justify
    denying CSS an exception for its religious exercise. The creation of a system of exceptions
    under the contract undermines the City’s contention that its non-discrimination policies can
    brook no departures. . . . The City offers no compelling reason why it has a particular interest
    in denying an exception to CSS while making them available to others.

The same applies to ORTL if Oregon asserts such an interest, e.g., its grandfathering exemption,

federal-funds exemption mechanism, and other gaps undercut any such brook-no-departures in-

terest, but RHEA instead asserts an interest in equitable funding for abortion and contraception.

    In sum, no compelling interest justifies not exempting ORTL from the Mandate. Even as-

suming arguendo one were compelling, there are more narrowly tailored options to further any

interest. So the Mandate violates ORTL’s free-exercise right.

                                                  II.
                 The remaining preliminary injunction factors warrant relief.

    In First Amendment challenges, the likelihood of success on the merits is the dominant fac-

tor, so once likely merits success is established the other elements follow. Sammartano, 303 F.3d

at 972-74, abrogated in part by Winter, 555 U.S. at 24.

A. ORTL will suffer irreparable harm absent relief.

    Given the violation of its free-exercise right, ORTL is suffering irreparable harm. Elrod, 427



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U.S. at 373 (“The loss of First Amendment freedoms, for even minimal periods of time, unques-

tionably constitutes irreparable injury.”). “[T]he deprivation of constitutional rights ‘unquestion-

ably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)

(citation omitted). Accord Monterey Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997)

(constitutional-rights violation is per se irreparable harm).

B. A preliminary injunction is in the public interest.

    Abiding by the First Amendment is always in the public interest. See, e.g., Klein v. City of

San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009) (where constitutional rights affected, “public

interest . . . tip[s] sharply in favor of enjoining” laws); Preminger v. Principi, 422 F.3d 815, 826

(9th Cir. 2005) (“[A]ll citizens have a stake in upholding the Constitution” and have “concerns

[that] are implicated when a constitutional right has been violated.”); Melendres, 695 F.3d at

1002 (“‘[I]t is always in the public interest to prevent the violation of a party’s constitutional

rights.’” (citation omitted)). No third-party harm is involved as only ORTL employees are in-

volved, and they don’t want the contested coverage the Mandate compels. So the public interest

tips sharply in ORTL’s favor.

C. The balance of equities tips sharply in ORTL’s favor.

    “[T]he balance of hardships between the parties,” Alliance for the Wild Rockies v. Cottrell,

632 F.3d 1127, 1137 (9th Cir. 2011), tips sharply in ORTL’s favor. ORTL’s interests are in not

violating religious belief and implementing First Amendment protection. Defendants will suffer

no harm from a preliminary injunction as they “cannot suffer harm from an injunction that

merely ends an unlawful practice[.]” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013).




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                                           Conclusion

    The Mandate is unconstitutional as applied to ORTL. So appropriate relief is required.

ORTL is entitled to relief like that afforded “religious employers,” Bill § 2(9), and like that in

Foothill, which granted summary judgment, 623 F. Supp. 3d 1079, and entered a permanent in-

junction and ordered relief, Foothill, No. 2023 WL 1767748, at *5 (ordering Director to process

exemption requests for “abortion care coverage comporting with their religious beliefs”). After

that, the Skyline parties got a similar agreed judgment. Order Granting Joint Mot. and Entering J.,

Doc. 141, Skyline, No. 3:16-cv-00501 (S.D. Cal. May 11, 2023). The same is required here.

    As stated in the Verified Complaint’s Prayer for Relief, ORTL prays for the following:

    1. Declaratory judgment that the Mandate’s requirement that health-benefit plans cover abor-

tion and abortifacient “contraceptives” is unconstitutional as applied to ORTL;

    2. Preliminary and permanent injunctions ordering Defendants to treat ORTL as “religious

employers” are treated, Bill § 2(9); enjoining Defendants from enforcing the Mandate against

ORTL or any ORTL health-benefit plan provider differently than for “religious employers”; and

requiring Defendants to direct any present or future ORTL health-benefit plan provider to accom-

modate ORTL’s religious beliefs;

    3. Attorneys’ fees, costs, and expenses to which ORTL may be entitled by law, including

under 42 U.S.C. § 1988; and

    4. Any other relief the Court deems just and proper.




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Dated: September 12, 2023               Respectfully submitted,
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                            Attorney Certificate of Service

    I hereby certify that on September 12, 2023, I have made service of the foregoing Motion

for Preliminary Injunction and Supporting Memorandum of Law on the parties listed below

in the manner indicated:



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